38 F.3d 1213NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Samuel JONES, Plaintiff Appellant,v.CITY OF VIRGINIA BEACH;  Meyera E. Oberndorf, Mayor;Charles R. Wall;  G.L. Wylie, III, Defendants Appellees.
    No. 94-6809.
    United States Court of Appeals, Fourth Circuit.
    Submitted August 25, 1994.Decided October 13, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Robert G. Doumar, District Judge.  (CA-94-525-2)
      Samuel Jones, Appellant Pro Se.
      E.D.Va.
      AFFIRMED.
      Before RUSSELL and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Jones v. City of Virginia Beach, No. CA-94-525-2 (E.D. Va.  June 20, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    